Case 1:21-cv-11057-RGS Document 69 Filed 01/23/23 Page 1 of 2

‘

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MASSACHUSETTS

 

FWK HOLDINGS, LLC, MEIJER, INC., AND
MEIJER DISTRIBUTION, INC.,

Plaintiffs,
Vv.
TAKEDA PHARMACEUTICAL COMPANY
LIMITED AND TAKEDA
PHARMACEUTICALS U.S.A., INC.

Defendants.

 

KPH HEALTHCARE SERVICES, INC.,
A/K/A KINNEY DRUGS, INC.,

Plaintiff,
v.
TAKEDA PHARMACEUTICAL COMPANY
LIMITED AND TAKEDA
PHARMACEUTICALS U.S.A., INC

Defendants.

 

 

C.A. No. 1:21-cv-11057-RGS

C.A. No. 1:21-cv-11255-RGS

- | ORDER FOR CASE CONSOLIDATION

 

Plaintiffs FWK Holdings, LLC, Meijer, Inc., Meijer Distribution, Inc., and KPH

Healthcare Services, Inc., a/k/a Kinney Drugs, Inc., moved for consolidation of action

number 1:21-cy-11057-RGS and action number 1:21-cv-11255-RGS (the “Actions”).

Defendants Takeda Pharmaceutical Company Limited and Takeda Pharmaceuticals

U.S.A., Inc. assented to the motion and consolidation of the Actions.

Because the Actions involve common questions of law and fact, they are appropriately

consolidated for all purposes pursuant to Fed. R. Civ. P. 42(a). Any new cases that may be

filed in, or transferred to, this Court related to these actions within the meaning of Local
Case 1:21-cv-11057-RGS Document 69 Filed 01/23/23 Page 2 of 2

Civil Rule 40.1(G) shall be deemed consolidated with the Actions unless an objection is

filed within 14 days of notice to counsel for the plaintiff(s) in the newly-filed action(s), and

the objection is sustained. In the event such an objection is made and sustained, the Court

shall enter such orders as necessary to ensure that the newly-filed action(s) shall be

coordinated with the consolidated actions for purposes of discovery and other pretrial

proceedings.

F WK Holdings, LLC, et al. v. Takeda Pharm. Co. Ltd., et al., No. 1:21-cv-11057-RGS

(D. Mass.), the first-filed direct purchaser case, shall be the lead action. Accordingly, all papers

in the consolidated actions shall be filed under this case number with the following caption:

 

IN RE AMITIZA ANTITRUST LITIGATION | No. 21-cv-11057

 

 

SO ORDERED.

DATED: / ° 23 -A3

on. Richard G. Stearns
United States District Court Judge
